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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF SOUTH CAROLINA

IN RE:                                                 CASE NO: 19-00498-jw
                                                       CHAPTER: 13
Darrell LL King and
Saqoiya Lashay King,

         1886 Maple Leaf Court                         STATEMENT OF CHANGE
         Charleston, SC 29414

Last 4 of Social: 4675, 0691

                           DEBTORS


TO:      James M. Wyman, Chapter 13 Trustee

      Debtors Darrell LL King and Saqoiya Lashay King hereby give notice that the following
documents have been amended as follows:

         Schedule I:

                Line 9:        Added income from Debtor-spouse’s live-in brother (towards rent
                               payment).

         Schedule J:

                Line 4:        Increased rental expense to $1,870.00.

                Line 8:        Decreased clothing, laundry, and dry cleaning expense to $50.00.

Respectfully submitted this 30th day of April, 2019.


                                             By:       /s/ Jennifer S. Ivey

                                                       Jennifer S. Ivey
                                                       Attorney for the Debtors
                                                       222 Coleman Blvd., Ste. 124
                                                       Mt. Pleasant, SC 29464
                                                       (843) 900-7635
                                                       ivey@seacoastbk.com
                                                       Dist. Ct. ID: 12515
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Fill in this information to identify your case:

Debtor 1                      Darrell LL King

Debtor 2                      Saqoiya Lashay King
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF SOUTH CAROLINA

Case number               19-00498                                                                      Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                         A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                 Not employed                               Not employed
       employers.
                                             Occupation            Communication Tech                          Practice Representative
       Include part-time, seasonal, or
       self-employed work.                                                                                     Live for Wellness Chiropractic
                                             Employer's name       Comcast Cable                               Center
       Occupation may include student
       or homemaker, if it applies.          Employer's address
                                                                   One Comcast Center                          3417 Shelby Ray Ct Suite C
                                                                   Philadelphia, PA 19103                      Charleston, SC 29414

                                             How long employed there?         11 months                                5 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         2,676.01        $          1,404.95

3.     Estimate and list monthly overtime pay.                                              3.   +$           626.12        +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      3,302.13               $    1,404.95




Official Form 106I                                                      Schedule I: Your Income                                                   page 1
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Debtor 1   Darrell LL King
Debtor 2   Saqoiya Lashay King                                                                   Case number (if known)    19-00498


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      3,302.13       $         1,404.95

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        443.35   $               191.78
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00   $                 0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00   $                 0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $          0.00   $                 0.00
     5e.    Insurance                                                                     5e.        $        458.72   $                 0.00
     5f.    Domestic support obligations                                                  5f.        $          0.00   $                 0.00
     5g.    Union dues                                                                    5g.        $          0.00   $                 0.00
     5h.    Other deductions. Specify: Spouse Life Insurance                              5h.+       $          1.15 + $                 0.00
            Child Life Insurance                                                                     $          1.26   $                 0.00
            Supp LTD 60%                                                                             $         10.05   $                 0.00
            Spose Life Insurance                                                                     $          0.11   $                 0.00
            Child Life Insurane                                                                      $          0.11   $                 0.00
            Spouse Life Insuance                                                                     $          0.13   $                 0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            914.88       $           191.78
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          2,387.25       $          1,213.17
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $           840.83
     8b. Interest and dividends                                                           8b.        $              0.00   $             0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $                0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
     8e. Social Security                                                                  8e.        $              0.00   $                0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                0.00   $                 0.00
     8g. Pension or retirement income                                                     8g. $                 0.00   $                 0.00
     8h. Other monthly income. Specify: Contribution from live-in brother                 8h.+ $              150.00 + $               150.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            150.00       $            990.83

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              2,537.25 + $       2,204.00 = $           4,741.25
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $          4,741.25
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                      page 2
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Fill in this information to identify your case:

Debtor 1                Darrell LL King                                                                    Check if this is:
                                                                                                            An amended filing
Debtor 2                Saqoiya Lashay King                                                                 A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                  13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF SOUTH CAROLINA                                                 MM / DD / YYYY

Case number           19-00498
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
                 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s        Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age                live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                            Daughter                             6                   Yes
                                                                                                                                            No
                                                                                   Son                                  10                  Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                              1,870.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                               15.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                5.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                               page 1
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Debtor 1     Darrell LL King
Debtor 2     Saqoiya Lashay King                                                                       Case number (if known)      19-00498

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                140.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 80.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                425.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,075.00
8.    Childcare and children’s education costs                                                 8. $                                                25.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                50.00
10.   Personal care products and services                                                    10. $                                                 95.00
11.   Medical and dental expenses                                                            11. $                                                 65.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 260.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  45.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  275.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Vehicle Tags                                                                  16. $                                                    5.83
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Kids extracurriculars                                               21. +$                                                 25.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       4,455.83
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       4,455.83
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,741.25
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              4,455.83

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 285.42

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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                                                                     Document      Page 6 of 7




 Fill in this information to identify your case:

 Debtor 1                    Darrell LL King
                             First Name                     Middle Name             Last Name

 Debtor 2                    Saqoiya Lashay King
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number              19-00498
 (if known)
                                                                                                                                     Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


               No

         Yes. Name of person                                                                                   Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Darrell LL King                                                       X   /s/ Saqoiya Lashay King
              Darrell LL King                                                           Saqoiya Lashay King
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       April 19, 2019                                                 Date    April 19, 2019




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF SOUTH CAROLINA

IN RE:                                            CASE NO: 19-00498-jw
                                                  CHAPTER: 13
Darrell LL King and
Saqoiya Lashay King,

         1886 Maple Leaf Court                    CERTIFICATE OF SERVICE
         Charleston, SC 29414

Last 4 of Social: 4675, 0691

                         DEBTORS



       The undersigned hereby certifies that she served the Statement of Change, Amended
Schedules I, J, and Amended Declaration Concerning an Individual Debtors’ Schedules dated
April 19, 2019 on the following:

SERVED VIA CM/ECF:

James M. Wyman, Esq.
Chapter 13 Trustee
P.O. Box 997
Mt. Pleasant, SC 29465-0997

Office of the United States Trustee
Strom Thurmond Federal Building
1835 Assembly Street, Suite 953
Columbia, SC 29201


On this 30th day of April, 2019.


                                           By:    /s/ Jennifer S. Ivey

                                                  Jennifer S. Ivey
                                                  Attorney for the Debtors
                                                  222 Coleman Blvd., Ste. 124
                                                  Mt. Pleasant, SC 29464
                                                  (843) 900-7635
                                                  ivey@seacoastbk.com
                                                  Dist. Ct. ID: 12515
